Case 2:17-cv-06520-JFW-FFM Document 1 Filed 09/05/17 Page 1 of 13 Page ID #:1




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10                    UNITED STATES DISTRICT COURT
11          CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION

12
       NICHOLAS CONNER,                       Case No: 2:17-cv-6520
13
                             Plaintiff,       COMPLAINT FOR DAMAGES
14
15                                             1. NEGLIGENT VIOLATION
       v.                                         OF TELEPHONE
16                                                CONSUMER PROTECTION
                                                  ACT (TCPA), 47 U.S.C. § 227
17
                                                  ET SEQ.
       RASH CURTIS & ASSOCIATES                2. KNOWING AND/OR
18
                                                  WILLFUL VIOLATIONS OF
19                           Defendant.           THE TELEPHONE
                                                  CONSUMER PROTECTION
20
                                                  ACT (TCPA), 47 U.S.C. § 227
21                                             3. FAIR DEBT COLLECTION
                                                  PRACTICES ACT, 15 U.S.C. §
22                                                1692 ET SEQ.
23
                                               4. ROSENTHAL FAIR DEBT
                                                  COLLECTION PRACTICES
24                                                ACT, CAL CIV. CODE §§
                                                  1788-1788.32; AND
25
26                                            JURY TRIAL DEMANDED

27
28


     Complaint for Damages
Case 2:17-cv-06520-JFW-FFM Document 1 Filed 09/05/17 Page 2 of 13 Page ID #:2




1
2                                         INTRODUCTION
3    1.     The United States Congress has found abundant evidence of the use of abusive,
4           deceptive, and unfair debt collection practices by many debt collectors, and has
5           determined that abusive debt collection practices contribute to the number of
6           personal bankruptcies, to marital instability, to the loss of jobs, and to invasions
7           of individual privacy. Congress wrote the Fair Debt Collection Practices Act, 15
8           U.S.C. § 1692 et seq. (hereinafter “FDCPA”), to eliminate abusive debt
9           collection practices by debt collectors, to ensure that those debt collectors who
10          refrain from using abusive debt collection practices are not competitively
11          disadvantaged, and to promote consistent State action to protect consumers
12          against debt collection abuses.
13   2.     The California legislature has determined that the banking and credit system and
14          grantors of credit to consumers are dependent upon the collection of just and
15          owing debts and that unfair or deception collection practices undermine the
16          public confidence that is essential to the continued function of the banking and
17          credit system and sound extension of credit to consumers. The Legislature has
18          further determined that there is a need to ensure that debt collectors exercise this
19          responsibility with fairness, honesty, and due regard for the debtor’s rights and
20          that debt collectors must be prohibited from engaging in unfair or deceptive acts
21          or practices. See Cal. Civ. Code § 1788.17(a)(2).
22   3.     NICHOLAS CONNER, (“Plaintiff”), through Plaintiff's attorneys, brings this
23          action for violations of the FDCPA and the Rosenthal Fair Debt Collection
24          Practices Act, Cal. Civ. Code §§ 1788 et seq., (Rosenthal Act), to challenge the
25          actions of RASH CURTIS & ASSOCIATES, (“Defendant”), with regard to
26          attempts by Defendant to unlawfully and abusively collect a debt allegedly owed
27          by Plaintiff, and this conduct caused Plaintiff damages.
28

     Conner v. Rash Curtis & Associates
     Complaint for Damages                        1
Case 2:17-cv-06520-JFW-FFM Document 1 Filed 09/05/17 Page 3 of 13 Page ID #:3




1    4.     Plaintiff also brings this Complaint for damages, injunctive relief, and any other
2           available legal or equitable remedies, resulting from the illegal actions of
3           Defendant in negligently or intentionally contacting Plaintiff on Plaintiff’s
4           cellular telephone, in violation of the Telephone Consumer Protection Act, 47
5           U.S.C. § 227 et seq., (“TCPA”), thereby invading Plaintiff’s privacy. Plaintiff
6           alleges as follows upon personal knowledge as to himself and his own acts and
7           experiences, and, as to all other matters, upon information and belief, including
8           investigation conducted by his attorneys.
9    5.     The TCPA was designed to prevent calls and messages like the ones described
10          within this complaint, and to protect the privacy of citizens like Plaintiff.
11          “Voluminous consumer complaints about abuses of telephone technology – for
12          example, computerized calls dispatched to private homes – prompted Congress
13          to pass the TCPA.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740, 744
14          (2012).
15   6.     In enacting the TCPA, Congress intended to give consumers a choice as to how
16          creditors and telemarketers may call them, and made specific findings that
17          “[t]echnologies that might allow consumers to avoid receiving such calls are not
18          universally available, are costly, are unlikely to be enforced, or place an
19          inordinate burden on the consumer. TCPA, Pub.L. No. 102–243, § 11. Toward
20          this end, Congress found that:
21
                  [b]anning such automated or prerecorded telephone calls to the
22                home, except when the receiving party consents to receiving the
23                call or when such calls are necessary in an emergency situation
                  affecting the health and safety of the consumer, is the only
24                effective means of protecting telephone consumers from this
25                nuisance and privacy invasion.

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     Conner v. Rash Curtis & Associates
     Complaint for Damages                       2
Case 2:17-cv-06520-JFW-FFM Document 1 Filed 09/05/17 Page 4 of 13 Page ID #:4




1           Id. at § 12; see also Martin v. Leading Edge Recovery Solutions, LLC, 2012 WL
2           3292838, at* 4 (N.D. Ill. Aug. 10, 2012) (citing Congressional findings on
3           TCPA’s purpose).
4    7.     Congress also specifically found that “the evidence presented to the Congress
5           indicates that automated or prerecorded calls are a nuisance and an invasion of
6           privacy, regardless of the type of call….” Id. at §§ 12-13. See also, Mims,
7           132 S. Ct. at 744.
8    8.     As Judge Easterbrook of the Seventh Circuit recently explained in a TCPA case
9           regarding calls similar to this one:
10
                  The Telephone Consumer Protection Act … is well known for its
11                provisions limiting junk-fax transmissions. A less-litigated part of
12                the Act curtails the use of automated dialers and prerecorded
                  messages to cell phones, whose subscribers often are billed by the
13                minute as soon as the call is answered—and routing a call to
14                voicemail counts as answering the call. An automated call to a
                  landline phone can be an annoyance; an automated call to a cell
15                phone adds expense to annoyance.
16
17
            Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 638 (7th Cir. 2012).

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     9.     While many violations are described below with specificity, this Complaint

19
            alleges violations of the statute cited in its entirety.
     10.    Unless otherwise stated, all the conduct engaged in by Defendant took place in
20
            California.
21
     11.    Any violations by Defendant were knowing, willful, and intentional, and
22
            Defendant did not maintain procedures reasonably adapted to avoid any such
23
            violation.
24
     12.    Unless otherwise indicated, the use of Defendant’s name in this Complaint
25
            includes all agents, employees, officers, members, directors, heirs, successors,
26
27
            assigns, principals, trustees, sureties, subrogees, representatives, and insurers of

28
            Defendant.

     Conner v. Rash Curtis & Associates
     Complaint for Damages                          3
Case 2:17-cv-06520-JFW-FFM Document 1 Filed 09/05/17 Page 5 of 13 Page ID #:5




1                                         JURISDICTION AND VENUE
2    13. This Court has federal question jurisdiction because this case arises out of
3           violation of federal laws: the FDCPA, 15 U.S.C. §§ 1692 et seq., and the TCPA,
4           47 U.S.C. § 227 et seq.
5    14. Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331, 15 U.S.C.
6           §1692(k), and 28 U.S.C. § 1367 for supplemental state claims.
7    15. This action arises out of Defendant's violations of the TCPA, 47 U.S.C. § 227 et
8           seq., the FDCPA, 15 U.S.C. §§ 1692 et seq., the Rosenthal Fair Debt Collection
9           Practices Act, and the California Civil Code §§ 1788-1788.32 (“Rosenthal
10          Act”).
11   16. Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
12          Plaintiff resides in the County of Los Angeles, State of California which is
13          within this judicial district; (ii) the conduct complained of herein occurred
14          within this judicial district; and, (iii) Defendant conducts business within this
15          judicial district and is located within this judicial district as well, and in Los
16          Angeles County.
17                                               PARTIES
18   17. Plaintiff is a natural person‚ as that term is used in 15 U.S.C. § 1692 et seq. and
19          California Civil Code § 1788.2(h), Plaintiff resides in the State of California,
20          Los Angeles County in Hermosa Beach.
21   18. Plaintiff is a person from whom a debt collector sought to collect a consumer
22          debt which was due and owing or alleged to be due and owing from Plaintiff.
23          Plaintiff is a “debtor” as that term is defined by California Civil Code §
24          1788.2(h) and a “consumer” as that term is defined by 15 U.S.C. §1692a(3).
25   19. Plaintiff is informed and believes, and thereon alleges, that Defendant is, and at
26          all times mentioned herein was, a business operating under a fictitious name,
27          with its principal place of business in Vacaville, California.
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     Conner v. Rash Curtis & Associates
     Complaint for Damages                          4
Case 2:17-cv-06520-JFW-FFM Document 1 Filed 09/05/17 Page 6 of 13 Page ID #:6




1    20. Defendant uses an instrumentality of interstate commerce or the mails in a
2           business the principal purpose of which is the collection of debts, or who
3           regularly collects or attempts to collect, directly or indirectly, debts owed or due
4           or asserted to be owed or due another and is therefore a “debt collector” as that
5           phrase is defined by 15 U.S.C. § 1692a(6).
6    21. Defendant, in the ordinary course of business, regularly, on behalf of itself, or
7           others, engages in debt collection as that term is defined by California Civil
8           Code § 1788.2(b), and is therefore a “debt collector” as defined in California
9           Civil Code § 1788.2(c).
10   22. Defendant, is and at all times mentioned herein was, a “person,” as defined by
11          47 U.S.C. § 153 (39) and Cal. Civ. Code § 1788.2(g). Defendant collects on
12          alleged defaulted debts.
13                                        FACTUAL ALLEGATIONS
14   23. Sometime prior to November 2016, Defendant began calling Plaintiff on his
15          cellular telephone ending in “7888.”
16   24. When Plaintiff answered the calls, Defendant stated that its call was in attempt
17          to collect a debt.
18   25. Plaintiff does not owe any debt, and requested that Defendant stops calling
19          Plaintiff.
20   26. Despite Plaintiff’s request to stop calling, Defendant continued to call, to annoy
21          and harass Plaintiff in attempt to collect a debt that Plaintiff does not owe.
22   27. The alleged debt constitutes a “debt” as defined by 15 U.S.C. § 1692a(5), Cal.
23          Civ. Code § 1788.2(d), and a “consumer debt” as defined by Cal. Civ. Code §
24          1788.2(f).
25   28. Sometime in or around June 2016, Plaintiff requested Defendant to stop calling
26          him.
27   29. However, Defendant’s calls did not stop.
28   30. Plaintiff then again and again asked Defendant to stop calling, to no avail.
     Conner v. Rash Curtis & Associates
     Complaint for Damages                         5
Case 2:17-cv-06520-JFW-FFM Document 1 Filed 09/05/17 Page 7 of 13 Page ID #:7




1    31. Despite Plaintiff’s express and repeated requests to stop calling, in 2016,
2           Defendant continued to persistently call Plaintiff’s cellular telephone.
3    32. Defendant called on November 21, 2016, December 29, 2016, January 10, 2017,
4           January 25, 2017, twice on January 26, 2017, March 21, 2017, April 4, 2017,
5           and April 26, 2017.
6    33. Plaintiff received around one hundred calls (100) after asking the Defendant to
7           stop calling. The calls have continued on a continuing basis.
8    34. The calls from Defendant came from phone numbers including, but not limited
9           to, 866-729-2722 and 707-454-2010.
10   35. Defendant, upon information and belief, used an automatic telephone dialing
11          system (“ATDS”) as defined by 47 U.S.C. § 227(a)(1), and an artificial and pre-
12          recorded voice, as prohibited by 47 U.S.C. § 227(b)(1)(A).
13   36. Upon information and belief, Defendant’s ATDS has the capacity to store or
14          produce telephone numbers to be called, using a random or sequential number
15          generator.
16   37. Upon information and belief, Defendant’s ATDS also has the capacity to and
17          does, dial telephone numbers stored as a list or in a database without human
18          intervention.
19   38. Plaintiff’s telephone number, Defendant called was assigned to a cellular
20          telephone service for which Plaintiff incurs a charge for incoming calls pursuant
21          to 47 U.S.C. § 227(b)(1).
22   39. These unwanted telephone calls constitute calls that were not for emergency
23          purposes as defined by 47 U.S.C. § 227(b)(1)(A)(i).
24   40. Plaintiff did not provide express consent to Defendant to receive calls on
25          Plaintiff’s cellular telephone, pursuant to 47 U.S.C. § 227 (b)(1)(A).
26   41. Further, Plaintiff specifically revoked any consent (which Defendant may have
27          mistakenly believed existed), when Plaintiff asked them to stop calling on
28          multiple occasions.
     Conner v. Rash Curtis & Associates
     Complaint for Damages                        6
Case 2:17-cv-06520-JFW-FFM Document 1 Filed 09/05/17 Page 8 of 13 Page ID #:8




1     42. Defendant’s calls forced Plaintiff to live without the utility of Plaintiff’s cell
2           phone by forcing him to silence his cell phone and/or block incoming numbers.
3    43. Plaintiff is informed and believes and here upon alleges, that these calls were
4           made by Defendant or Defendant’s agent, with Defendant’s permission,
5           knowledge, control and for Defendant’s benefit.
6    44. Where Defendant called Plaintiff after Plaintiff asked them to stop calling on
7           various occasions, the natural consequence was harassment and oppression felt
8           by Plaintiff in violation of 15 U.S.C. § 1692d.
9    45. The calls to Plaintiff from Defendant after the receipt of the Plaintiffs multiple
10          requests to stop call constitute unfair and unconscionable means to collect, or
11          attempt to collect, a debt in violation of 15 U.S.C. § 1692f, and 15 U.S.C. §
12          1692f(1).
13   46.    The Rosenthal Act “prohibit[s] debt collectors from engaging in unfair or
14          deceptive acts or practices in the collection of consumer debt.” See Cal. Civ.
15          Code § 1788.17(a)(2).
16   47.    By continuing to contact Plaintiff regarding this alleged debt, Defendant
17          violated 15 U.S.C. § 1692c(a)(1) and Cal. Civ. Code § 1788.17 by continuing
18          contacting Plaintiff despite Plaintiffs repeated requests for Defendant to stop
19          calling him.
20   48.    Through this conduct, Defendant violated Cal. Civ. Code § 1788.17 regarding
21          15 U.S.C. §§ 1692f , 1692f(1) by using unfair and unconscionable means in
22          connection with the collection of Plaintiff’s debt, which was not owed.
23   49. By continuing to contact Plaintiff regarding this alleged debt, Defendant
24          violated Cal. Civ. Code § 1788.11(e) by communicating by telephone with a
25          represented Plaintiff, despite the Plaintiffs repeated requests that Defendant stop
26          calling, with intent to harass Plaintiff in connection with the collection of a debt.
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     Conner v. Rash Curtis & Associates
     Complaint for Damages                         7
Case 2:17-cv-06520-JFW-FFM Document 1 Filed 09/05/17 Page 9 of 13 Page ID #:9




1    50.    Plaintiff was personally affected because she was frustrated and distressed that
2           despite the cease and desist letters, Defendant continued to harass Plaintiff with
3           calls using an ATDS.
4    51.    Plaintiff was injured because his privacy rights were infringed upon in the form
5           of harassment by Defendant.
6                                            FIRST CAUSE OF ACTION
7                                         NEGLIGENT VIOLATIONS OF THE
8                          TELEPHONE CONSUMER PROTECTION ACT (TCPA)
9                                                47 U.S.C. § 227
10   52.    Plaintiff repeats, re-alleges, and incorporates by reference, all of the above
11          paragraphs of this Complaint as though fully stated herein.
12   53.    The foregoing acts and omissions constitute numerous and multiple violations of
13          the TCPA, including but not limited to each and every one of the above-cited
14          provisions of the TCPA, 47 U.S.C. 227 et. seq.
15   54.    As a result of Defendant's negligent violations of 47 U.S.C. § 227 et seq.,
16          Plaintiff is entitled to an award of $500.00 in statutory damages, for each and
17          every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
18   Plaintiff is also entitled to and seeks injunctive relief prohibiting such conduct in the
19   future.
20                                          SECOND CAUSE OF ACTION
21                          KNOWING AND/OR WILLFUL VIOLATIONS OF THE
22                         TELEPHONE CONSUMER PROTECTION ACT (TCPA)
23                                               47 U.S.C. § 227
24   55.    Plaintiff repeats, re-alleges, and incorporates by reference, all other paragraphs
25          of this Complaint as though fully stated herein.
26   56.    The foregoing acts and omissions of Defendant constitute numerous and
27          multiple knowing and/or willful violations of the TCPA, including but not
28

     Conner v. Rash Curtis & Associates
     Complaint for Damages                             8
Case 2:17-cv-06520-JFW-FFM Document 1 Filed 09/05/17 Page 10 of 13 Page ID #:10




 1          limited to each and every one of the above-cited provisions of 47 U.S.C. § 227
 2          et seq.
 3   57.    As a result of Defendant's knowing and/or willful violations of 47 U.S.C. § 227
 4          et seq., Plaintiff is entitled to treble damages, as provided by statute, up to
 5          $1,500.00, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B)
 6          and 47 U.S.C. § 227(b)(3)(C).
 7                                           THIRD CAUSE OF ACTION
 8                         FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
 9                                           15 U.S.C. § 1692 ET. SEQ.
10   58. Plaintiff repeats, re-alleges, and incorporates by reference, all other paragraphs
11          of this Complaint as though fully stated herein.
12   59. The foregoing acts and omissions constitute numerous and multiple violations of
13          the FDCPA, including but not limited to each and every one of the above-cited
14          provisions of the FDCPA, 15 U.S.C. §1692 et seq.
15   60. As a result of each and every violation of the FDCPA, Plaintiff is entitled to any
16          actual damages pursuant to 15 U.S.C. §1692k(a)(1); statutory damages in the
17          amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable
18          attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from Defendant.
19
20                                          FOURTH CAUSE OF ACTION
21                       ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
22                                              (ROSENTHAL ACT)
23                                        CAL. CIV. CODE §§ 1788-1788.32
24   61. Plaintiff repeats, re-alleges, and incorporates by reference, all other paragraphs.
25   62. The foregoing acts and omissions constitute numerous and multiple violations of
26          the Rosenthal Act, including but not limited to each and every one of the above-
27          cited provisions of the Rosenthal Act, Cal. Civ. Code § 1788-1788.32.
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     Conner v. Rash Curtis & Associates
     Complaint for Damages                              9
Case 2:17-cv-06520-JFW-FFM Document 1 Filed 09/05/17 Page 11 of 13 Page ID #:11




 1   63. As a result of each and every violation of the Rosenthal Act, Plaintiff is entitled
 2          to any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory
 3          damages for a knowing or willful violation in the amount up to $1,000 pursuant
 4          to Cal. Civ. Code § 1788.30(b); and reasonable attorney’s fees and costs
 5          pursuant to Cal. Civ. Code § 1788.30(c) from Defendant.
 6                                            PRAYER FOR RELIEF
 7   WHEREFORE, Plaintiff prays that judgment be entered against Defendant, and
 8   Plaintiff be awarded damages from Defendant, as follows:
 9                                           FIRST CAUSE OF ACTION
10                                        NEGLIGENT VIOLATIONS OF THE
11                         TELEPHONE CONSUMER PROTECTION ACT (TCPA)
12                                               47 U.S.C. § 227
13     • Actual damages;
14     • Statutory damages of $500.00 for each negligent violation of the TCPA pursuant
15         to 47 U.S.C. § 227(b)(3)(B);
16     • Pursuant to 47 U.S.C § 227(b)(3)(A), injunctive relief prohibiting such conduct
17         in the future;
18     • Any and all other relief that the Court deems just and proper.
19
20                                          SECOND CAUSE OF ACTION
21                          KNOWING AND/OR WILLFUL VIOLATIONS OF THE
22                         TELEPHONE CONSUMER PROTECTION ACT (TCPA)
23                                               47 U.S.C. § 227
24
25     • Actual damages;
26     • Statutory damages of $1,500.00 for each knowing and/or willful violation of the
27         TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C);
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     Conner v. Rash Curtis & Associates
     Complaint for Damages                             10
Case 2:17-cv-06520-JFW-FFM Document 1 Filed 09/05/17 Page 12 of 13 Page ID #:12




 1     • Pursuant to 47 U.S.C § 227(b)(3)(A), injunctive relief prohibiting such conduct
 2         in the future;
 3     • Any and all other relief that the Court deems just and proper.
 4                                           THIRD CAUSE OF ACTION
 5                         FAIR DEBT COLLECTION PRACTICES ACT (FDCPA)
 6                                           15 U.S.C. § 1692 ET. SEQ.
 7
 8     •   An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
 9     • An award of statutory damages of $1,000.00 pursuant to 15 U.S.C. §
10         1692k(a)(2)(A);
11     • An award of costs of litigation and reasonable attorney’s fees, pursuant
12         to 15 U.S.C. § 1692k(a)(3);
13     • Any and all other relief that the Court deems just and proper.
14
15                                          FOURTH CAUSE OF ACTION
16                       ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
17                                              (ROSENTHAL ACT)
18                                        CAL. CIV. CODE §§ 1788-1788.32
19
20     • An award of actual damages pursuant to California Civil Code § 1788.30(a);
21     • An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code §
22         1788.30(b).
23     • An award of costs of litigation and reasonable attorney’s fees, pursuant to Cal.
24         Civ. Code § 1788.30(c);
25     • An award of actual damages in an amount to be proven at trial;
26     • Any and all other relief that the Court deems just and proper.
27
28   ///
     Conner v. Rash Curtis & Associates
     Complaint for Damages                              11
Case 2:17-cv-06520-JFW-FFM Document 1 Filed 09/05/17 Page 13 of 13 Page ID #:13




 1                                          T RIAL     BY   J URY
 2    58. Pursuant to the seventh amendment to the Constitution of the United States   of
 3          America, Plaintiff is entitled to, and demands, a trial by jury.
 4
                                                       Respectfully submitted,
 5
 6                                                     HYDE & SWIGART, APC

 7   Date: August 29, 2017                             By: s/Joshua Swigart
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     Conner v. Rash Curtis & Associates
     Complaint for Damages                        12
